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Case 2:24-cv-00301-SPC-KCD

Mayer Amschel Rothschild
11580 Palomino Lane

Fort Myers, Fl. 33912
239-595-5895

PLAINTIFF'S NAME,

MAYER AMSCHEL ROTHSCHILD
AND TO ALL OTHERS SIMILARLY SITUATED
CLASS ACTION
VS.
DEFENDANT'S NAME,
Pfizer Corporation

Dr. Ealon Joelson

Palo Alto Medical Foundation

TAMPA MIDDLE DISTRICT COURT

UNITED STATES DISTRICT COURT

PLAINTIFF .

VENUE

San Mateo, Ca. 90411

California 94301

QUERY - 1

Dated this 4™ day of APRIL , 2024

THIS COURT IS THE PROPER VENUE DUE TO DIVERSITY CLAIM.

A. Dr. Ealon Joelson rsides and practices in San Mateo county and resides on San Mateo Drive,

B. Dr. Ealon Joelson practices at PAMF. 895 El Camino Real 94301. Palo, Alto, Ca.

C. PAMF resides and has a principal office at same address 895 El Camino Real. Palo Alto,

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Case No.:
Class Action Suit
MEDICAL MALPRACTICE

Criminal Fraud

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D. Pfizer, Inc is domiciled ina principal office for manufacture and sale of Gabapentin 66
Hudson Bouldevard East New York NY. 10001

E. All defendanats are from a foreign location to the Tampa Middle District Court and work and

live in the areas depicted.

1. Medical Malpractice against Neurologist:

o Negligence:

The neurologist breached the standard of care, i.e., they failed to provide care that a
competent medical professional would have under similar circumstances. That standard
of care involves prescribing medication and monitoring during treatment to make sure the
safe levels are maintained as not to casue harm

To knowingly prescribe Gabapentin above the threshold level of3600 mg per day is
reckless and criminal negligent

Patient Rothschild Plaintiff took in excess of 10,0-00 to 12,000 mg. per day and in the
full knowledge of the Neurologist Ealon Joelson.

These confirmations were during regularly scheduled Zoom meetings by and between
patient and neurologist.

Rochschild lived for the. Past 2 years and could not maintain an office visit to PAMF
Palo Alto Medical Foundation in Palo Alto Caliifornia.

Rothschild has been treated by Joelson for the pasat 8 years as a procuring cause 0
Neurological foot pain.

Joelson tried to convince the causation of the Neuropathic foot pain was Diabetes and
higher than normal sugar levels.

Joelson also prescribed Metformin for sugar levels and compromised the function of the
pancreas.

Joelson in full knowledge and consent advised Plaintiff for 8 years with a combination of

treatment in California and Florida and Arizona.

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Causation:

Joelson cbecamse a personal friend and visited the home of Plaintiff on several occasions
in 2012-2019,

Joelson violated patient treatment by advising Patient on Zoom Meeting knowing
plaintiff was domiciled in.Arizona or Florida.

Joelson coached plaintiff to say he was In the state of California in order to complete the
treatment sessions.

Joelson prescribes other placebo drugs such as Hypodermic injecctions of Botox® for
migraine headaches and there have never been such maladies or issues.

Joelson Prescribed many other needless drugs for profit.

Joelson has been paid by Pfizer the manufacturer of Gabapentin a royalty and
commission for the amount of drugs prescribed.

Joelson has received trips and incentives to sell more Gabapentin.

Joelson knows of the legal difficulties of Pfier and how they paid out over 300 million in
Jury awards for Gabapentin and other drugs that are beyond the pale of treatment

practices.

On December 30, 2023 Plaintiff fell face down in a department store (Kohl’s) and a
parking lot face down and suffered major trauma and closed head injury and open head
injury.

Plaintiff had two procedures for this fall and was under the medication of Gabapentin and
was loopy dazed, or impaired by the drug and was the direct casusation of the accidental
fall.

Plaintiff has been seen in Palo Alto Medical Foundation subsequent to this accident and
to seek Deviated Septum and crushed septum, facial reconstruction by. A neighboring
facility Stanford Hospital by Dr. Pepper and Dr. Sam Most.

This surgery will be to direcfily correct the facial damage and nasal passages to restore

breathing on a normal basis.

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Damages:

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When Joelson received pictures of the horrible pictures he only replied this year has to be

a better year for you.
In subsequent zoom meetings that are recorded Joelson was trying to prescribe Cymbalta
as an adjunct to reduced gabapentin demand due to neuropathic pain.

Plaintiff told Joelson that he had become addicted to Gabapentin and he denied it say9ng
iat was not possible.

Plaintiff can produce qualified medical professionals to demonstrate the existence of an
addiction to Gabapentin.

Plaintiff told Joelson that he no longer trusted him and was not going to liste3n to his
advice any longer.

Plaintiff attempted to meet with the department head of Neurology and was denied
access.

Plaintiff advised PAMF and JOelson that a malpractice legal filing wss to take place soon
and asked for Malpractice Insurance to make a claim.

Plaintiff also wrote to PAMF president to advise of future action and there was no
respOnse..s

Plaintiff is now suffering from Dementia and Amnesia and has permanent damage to soft
tissue in the pre frontal cortex of the Brain.

Plaintiff is unable to work in real estate and other occupations due to lack of memory and
ability to gehave normally in a social or business setting.

Plaintiff is being treated by a Physician Group. ORTHOPEDIC CARE IN SARASOTA,
FLORIDA FOR LONG TERM DAMAGE.

Patient is now medicated for. Moof, headaches, and post traumatic stress.

Plaintiff is now unable to conduct a normal life and is under constant care by

professionals.

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2. Product Liability against Gabapentin Manufacturer:

Defective Product:

Failure to Warn:

Causation:

3. Class Action Considerations:

Common Issues:

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A sale of a real estate transaction for $ 600,000.00 commission has gone by the wayside
due to lack of care and faculties.

The remaining commissions that number in the $ 2,000,000.00 range have been forfeited.
Plaintiff has been fired from Century 21 Sunbelt for age discrimination and medical
capacity and can no longer work.

The damages to Plaintiff are easy to document and to present at trial.

Plaintiff Argues that gabapentin was defective in design, manufacturing, or labeling.

Plaintiff shall Demonstrate that the manufacturer failed to provide adequate warnings or

instructions regarding the potential risks and side effects associated with gabapentin.

Plaintiff attests and swears that a connection between plaintiff's use of gabapentin and
the harm suffered during the fall on 12/30/2023.

Plaintiff shall also produce witnesses to the effect that other falls and mishaps occurred
under the use of Gabspentin.

On 5/30/2023 Plaintiff fell off exercise machines and was warned that one more fall off
any of the exercise machines, he would be barred from the facility.

Plaintiff has fallen backwards off Elliptical machine and helped up by younger members
the club.

Plaintiff has felled off outide steps to the premise where plaintiff lives.

Plaintiff fell during a walk with the landlord and suffered damages in 7/21/2023.

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* Plaintiff shall Identify common issues of fact or law that are shared by the proposed class
members, such as similar injuries or damages caused by gabapentin.
o Numerosity:
« The class is numerous enough to make individual lawsuits impractical.
oO Typicality:
® Plaintiff shall Demonstrate that my claims are typical of the class members’ claims.
o Adequacy of Representation:
* Plaintiff shall Show that my interests align with those of the class and that you will
adequately represent their interests.
4. Expert Witnesses:
© Plaintiff has Consult medical and legal experts who can provide testimony supporting your claims,
both in terms of medical malpractice and product liability.

5. Documentation:

© Gather all relevant medical records, prescriptions, communications with the neurologist, and any
other evidence that supports your case against both the neurologist and the gabapentin
manufacturer.
6. Damages:
© Clearly outline the damages you and the proposed class members have suffered, including medical
expenses, pain and suffering, lost wages, and any other relevant damages.

7. Legal Representation:

© Plaintiff has Sought the assistance of an experienced class Action attorney who specializes in
medical malpractice and product liability to guide me through the complexities of these claims.
8. Negligence:
9, Plaintiff shall demonstrate a common basis for medical malpractice claims is the allegation that Palo Alto
Medical Foundation, Dr. Ealon Joelson, and Pfizer INC. healthcare professional and the institution was

negligent in providing care.

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. Class Action Suit:

In the context of medical issues, class actions may arise in situations like:

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. Pfizer has been fined and paid a jury verdict for Gabapentin and has been reckless in its continued sale and

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QUERY -7

All three factions demonstrated a Failure to Diagnose or Misdiagnosis: The healthcare provider failed to
correctly diagnose a medical condition or misdiagnoses it. resulting in harm to the Plaintiff , and are
legitimate grounds for a malpractice claim.

Surgical Errors: Errors conducted during surgery, performing the wrong procedure or damaging organs,

can be the basis for a malpractice suit.

Medication Errors: Mistakes in prescribing or administering medication have lead to this malpractice
claims.

Defendant(s) Failure to Obtain Informed Consent: The healthcare provider did not adequately inform
patient / Plaintiff about the risks and potential outcomes of a medical procedure, and the patient suffers

harm as a result, is considered malpractice.
Lack of Supervision or Training: The healthcare provider lacked proper supervision or training,

and it results in harm to a patient./ Plaintiff it is the very basis for a malpractice claim.

Class action suits typically involves a group of individuals with similar claims against a defendant}

Defective Medical Devices: If a medical device is found to be defective and causes harm to a group of
individuals, they may file a class action suit against the manufacturer.
Pharmaceuticals: If a medication causes harm to a large number of people due to defects or insufficient

warnings, a class action suit may be pursued against the pharmaceutical company.

manufacture, and failure to warn of possible harm.

Pfizer and Medicare can document the prescription and filling of a Gabapentin whole sale use in Fort
zmyers Florida.

Joelson continued to conduct illegal and harmful sessions with Plaintiff in another state thus violating
patient / Medical Institution protocols of treating in only the State of California and has violated numerous
infranctions.

Environmental Exposure: In these ases, a group of individuals have come together in a class action suit if

they have suffered health issues due to exposure to environmental toxins or hazardous substances.

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22. Insurance Practices: Class actions can also be brought against health insurance companies for unfair or
deceptive practices affecting a large group of policyholders.

23. Medicare practices are fraudulent and Aetna Medicare Florida will no longer pay for $ 50.00 per tablet
Gabapentin due to its harmful side effects.

24. European medical professionals shall be called on to te3stify that if they prescribed Gabapentin they would
be discharged and fired from the institution.

25. It's important to note that both medical malpractice and class action suits can be complex legal matters, and

the specific charges or claims will depend on the details of each case.
DAMAGES SOUGHT

Due to the severity of the potential addiction and side effects. Plaintiff and

class action hereby demand $ 400,000,000.00 for damages and any and all subsequent treatments.

/is'/Mayer Amschel Rothschild //s//

WM BAYAN Crys HEA ker Af

Dated this April 4, 2024

I hereby certify and attest that legal service shall be effected as soon as the Tampa Florida office accepts

the filing and subsequent Motion to have fees waived under the

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